               Case 23-11131-TMH                Doc 317       Filed 09/18/23         Page 1 of 13




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                    Debtors.1                           (Jointly Administered)
                                                              Hearing Date: October 18, 2023 at 2:00 p.m. (ET)
                                                         Objection Deadline: October 11, 2023 at 4:00 p.m. (ET)

             MOTION FOR AN ORDER (A) APPROVING PROCEDURES
         RELATED TO THE ASSUMPTION, ASSUMPTION AND ASSIGNMENT,
          OR TRANSFER OF EXECUTORY CONTRACTS AND UNEXPIRED
                LEASES; AND (B) GRANTING RELATED RELIEF

         The above-captioned debtors and debtors-in-possession (the “Debtors”) file this motion

(the “Motion”) for entry of an order, pursuant to sections 105(a), 365, 1107, and 1108 of title 11

of the United States Code (the “Bankruptcy Code”), Rules 2002 and 6006 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2002-1 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), substantially in the proposed form attached hereto as Exhibit A

(the “Contract and Lease Procedures Order”), establishing certain procedures relating to the

assumption, assumption and assignment, or transfer of executory contracts and unexpired leases,

whether in connection with a sale of the Debtors’ assets (including, but not limited to, a sale

governed by the Brand Asset Bid Procedures Motion2 but excluding any sale governed by the Non-



1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris, Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.
2
    Motion for (I) An Order (A) Approving Bid Procedures for the Sale of the Debtors’ Brand Assets; (B) Approving
    Certain Bid Protections in Connection with the Debtors’ Entry Into Any Potential Stalking Horse Agreements;
    (C) Scheduling the Auction and Sale Hearing; (D) Approving the Form and Manner of Notice Thereof; and
    (E) Granting Related Relief; and (II) An Order or Orders (A) Approving the Sale of the Debtors’ Brand Assets


DOCS_DE:244759.3 03703/004
               Case 23-11131-TMH               Doc 317        Filed 09/18/23        Page 2 of 13




Operating Brand Procedures Order3) or a plan of reorganization (either, a “Restructuring

Transaction”), including notice of proposed cure amounts (the “Contract and Lease Procedures”),

and approving the form and manner of notice of the potential assumption, assumption and

assignment, or transfer of executory contracts and unexpired leases (the “Cure Notice”). In support

of this Motion, the Debtors rely upon and refer this Court to the Declaration of Han Kieftenbeld

in Support of the Debtors’ Chapter 11 Petitions and First Day Relief [Docket No. 18] (the “First

Day Declaration”)4 and incorporated herein by reference. In further support of the Motion, the

Debtors respectfully represent as follows:

                                      PRELIMINARY STATEMENT

        1.       By this Motion, the Debtors seek approval of procedures governing the

identification of executory contracts and unexpired leases that may be assumed by the Debtors,

assumed by the Debtors and assigned to a third party, or otherwise transferred to a third party in

connection with a Restructuring Transaction and the manner for counterparties to such executory

contracts and unexpired leases to object thereto. Concurrently herewith, the Debtors have filed

the Brand Asset Bid Procedures Motion, which seeks to establish procedures related to the sale of

the Debtors’ operating consumer brands, Biossance®, JVN™, Rose Inc.™, Pipette®, MenoLabs™,

Stripes™, and 4U by Tia™ (collectively, the “Operating Consumer Brands”). Further, the Debtors

continue to negotiate with each of their major stakeholders within the time frames contemplated

by the Senior Secured Super Priority Debtor in Possession Loan Agreement dated as of August 9,

2023, as amended by the Amendment No. 1 to Senior Secured Super Priority Debtor in Possession


    Free and Clear of All Encumbrances; and (B) Approving the Assumption and Assignment of Executory Contracts
    and Unexpired Leases (the “Brand Asset Bid Procedures Motion”), filed concurrently herewith.
3
    Order (I) Establishing Procedures Governing the Sale or Transfer of Certain De Minimis Assets and Non-
    Operating Brands, and (II) Granting Related Relief [Docket No. 205].
4
    A capitalized term used but not defined herein shall have the meaning ascribed to it in the First Day Declaration.


                                                         2
DOCS_DE:244759.3 03703/004
               Case 23-11131-TMH                Doc 317        Filed 09/18/23         Page 3 of 13




Loan Agreement dated as of September 13, 2023 (collectively, the “DIP Facility”), surrounding

the terms of a consensual restructuring of the Debtors focused on their core assets to be

accomplished through a chapter 11 plan of reorganization (a “Plan of Reorganization”). However,

in the event that the Debtors are unable to reach consensus on the terms of a Plan of Reorganization

pursuant to the terms of the DIP Facility, the Debtors may seek to sell such core assets.

        2.       Pursuant to any Restructuring Transaction—whether a sale (of the Operating

Consumer Brands or otherwise) or Plan of Reorganization—the Debtors may assume, assume and

assign, or otherwise transfer executory contracts and unexpired leases (the “Potential

Assumed/Assigned Contracts”). Accordingly, in the interest of efficiency and to avoid any

confusion as to the rights and obligations of the counterparties to the Debtors’ Potential

Assumed/Assigned Contracts (the “Contract Counterparties”), the Debtors seek entry of the

Contract and Lease Procedures Order, which will govern the identification of Potential

Assumed/Assigned Contracts and Contract Counterparties’ deadlines to object thereto with respect

to any Restructuring Transaction in these Chapter 11 Cases. In connection with the Contract and

Lease Procedures, the Debtors propose the following key dates and deadlines:5

                  Date6                                                  Event
                                                Contract and Lease Procedures Motion Objection
October 11, 2023 at 5:00 p.m.
                                                Deadline
October 18, 2023 at 2:00 p.m.                   Contract and Lease Procedures Hearing
October 20, 2023                                Deadline to File Cure Notice
November 3, 2023 at 5:00 p.m.                   Contract Objection Deadline




5
    The Debtors, consistent with their fiduciary duties, in the exercise of their business judgment, and in consultation
    with the DIP Secured Parties, the Foris Prepetition Secured Lenders, and the official committee of unsecured
    creditors (the “Committee”) appointed in these Chapter 11 Cases, reserve the right to modify these dates
    consistent with the terms of the DIP Facility.
6
    All times are prevailing Eastern time.


                                                          3
DOCS_DE:244759.3 03703/004
               Case 23-11131-TMH          Doc 317      Filed 09/18/23     Page 4 of 13




        3.       Accordingly, as discussed in detail herein, the Debtors respectfully request entry of

the Contract and Lease Procedures Order.

                                  JURISDICTION AND VENUE

        4.       The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2),

and the Court may enter a final order consistent with Article III of the United States Constitution.

The Debtors confirm their consent, pursuant to Rule 9013-1(f) of the Local Rules, to the entry of

a final order by the Court in connection with this Motion to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

        5.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        6.       The statutory predicates for the relief sought herein are sections 105, 365, 1107,

and 1108 of the Bankruptcy Code, Bankruptcy Rules 2002(a)(2), 6006, and 9014, and Local Rules

2002-1(b) and 9006-1.

                                          BACKGROUND

        7.       On August 9 and August 21, 2023 (as applicable, the “Petition Date”), each Debtor

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code, commencing these

Chapter 11 Cases. The Debtors have continued in the possession of their property and have

continued to operate and manage their businesses as debtors in possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code. On August 27, 2023, the Office of the United States

Trustee (the “U.S. Trustee”) appointed the Committee, including the following members: U.S.



                                                   4
DOCS_DE:244759.3 03703/004
               Case 23-11131-TMH          Doc 317      Filed 09/18/23    Page 5 of 13




Bank Trust Co. NA; Cosan U.S. Inc.; Sartorius Stedim North America Inc.; Hearst Magazine

Media Inc.; Wiley Companies; Park Wynwood LLC; and Allog Participacoes Ltda.

        8.       The Debtors were founded in 2003 to create a more stable supply of a key anti-

malarial treatment. Through the Debtors’ cutting-edge science, artemisinin—the most effective

anti-malarial drug in the world—is now consistently available to treat the deadly disease. Using

the same technological innovations that produced artemisinin, the Debtors have become the

world’s leading manufacturer of ingredients made with synthetic biology. The Debtors provide

sustainable ingredients that are eco-friendly alternatives to raw material sourced for flavors and

fragrances, sweeteners, cosmetics, pharmaceuticals, and other consumer products.

        9.       In addition, the Debtors operate a family of consumer brands that utilize the

Company’s ingredients to meet the growing demand for sustainable, effective, and accessible

products, including Biossance® (clean beauty skincare), JVN™ (haircare), Rose Inc.™ (clean

color cosmetics), Pipette® (clean baby skincare), MenoLabs™ (healthy living and menopause

wellness), Stripes™ (menopausal wellness), and 4U by Tia™ (a new clean haircare line).

        10.      A detailed description of the Debtors’ business and facts precipitating the filing of

the Debtors’ chapter 11 proceedings are set forth in the First Day Declaration.

                                       RELIEF REQUESTED

A.      Contract and Lease Procedures

        11.      The Debtors are seeking approval of the Contract and Lease Procedures for

notifying counterparties to executory contracts and unexpired leases (the “Contract

Counterparties”) of, among other things, proposed Cure Amounts (as defined below) with respect

to the Potential Assumed/Assigned Contracts.




                                                   5
DOCS_DE:244759.3 03703/004
               Case 23-11131-TMH              Doc 317        Filed 09/18/23        Page 6 of 13




        12.      By October 20, 2023, the Debtors will file a notice (the “Cure Notice”) identifying

the Potential Assumed/Assigned Contracts (such list, the “Cure Schedule”),7 substantially in the

form attached as Schedule A to Exhibit 1 to the Contract and Lease Procedures Order, and serve

such notice on all Contract Counterparties to the Potential Assumed/Assigned Contracts. The Cure

Notice served on each Contract Counterparty shall: (i) identify Potential Assumed/Assigned

Contracts; (ii) identify the Debtor counterparty to such Potential Assumed/Assigned Contracts;

(iii) list the proposed cure amounts, if any, that the Debtors believe must be paid to cure all defaults

outstanding under each Potential Assumed/Assigned Contract (the “Cure Amounts”) as of such

date; (iv) include a statement that assumption, assumption and assignment, or transfer of such

Potential Assumed/Assigned Contract is not required or guaranteed; and (v) inform such Contract

Counterparty of the requirement to file any Contract Objection (as defined below) by the Contract

Objection Deadline (as defined below). Service of the Cure Notice, including the Cure Schedule,

upon a Contract Counterparty does not constitute an admission that a particular Potential

Assumed/Assigned Contract is an executory contract or unexpired lease, or confirm that the

Debtors are required to assume, assume and assign, and/or transfer such contract or lease.8

        13.      The Debtors further request that a Contract Counterparty must file any objection to

the Cure Amount and/or the assumption, assumption and assignment, and/or transfer of such

Potential Assumed/Assigned Contract by November 3, 2023 at 5:00 p.m. (Eastern Time) (the

“Contract Objection Deadline”).




7
    For the avoidance of doubt, the Debtors reserve all rights to remove any executory contract or unexpired lease
    from the Cure Schedule prior to the closing of any Restructuring Transaction(s).
8
    The Debtors reserve all rights concerning the characterization of the Potential Assumed/Assigned Contracts in all
    respects.


                                                         6
DOCS_DE:244759.3 03703/004
               Case 23-11131-TMH         Doc 317      Filed 09/18/23     Page 7 of 13




        14.      In addition, if the Debtors identify additional executory contracts or unexpired

leases that they wish to add to or remove from the Cure Schedule (each an “Additional Contract”)

the Debtors shall, as soon as practicable after making such a determination, send a supplemental

Cure Notice (an “Additional Cure Notice”) to the applicable Contract Counterparties to such

Additional Contracts.

        15.      The Debtors request that the Court require that any objections to a proposed Cure

Amount (a “Cure Objection”) and/or any other objections to the assumption, assumption and

assignment, and/or transfer of any of the Potential Assumed/Assigned Contracts (an

“Assumption/Assignment Objection” and, together with a Cure Objection, a “Contract Objection”)

must: (i) be made in writing and filed on the docket for these Chapter 11 Cases no later than the

Contract Objection Deadline; (ii) state the basis of such objection with specificity, including,

without limitation, the Cure Amount alleged to be due by such Contract Counterparty, and include

complete contact information for such Contract Counterparty (including address, telephone

number, and email address); (iii) comply with the Bankruptcy Code, the Bankruptcy Rules, and

the Local Rules; and (iv) be served upon the Notice Parties (as defined below), so as to be actually

received by such parties on or before the Contract Objection Deadline.

        16.      In addition, the Debtors request that the Court require that any objections from any

Contract Counterparty to a proposed Cure Amount listed on an Additional Cure Notice (an

“Additional Cure Objection”) and/or any other objections to the assumption, assumption and

assignment, and/or transfer of any of the Potential Assumed/Assigned Contracts listed on an

Additional Cure Notice (an “Additional Assumption/Assignment Objection” and, together with an

Additional Cure Objection, an “Additional Contract Objection”) must: (i) be made in writing and

filed on the docket by the later of (a) the Contract Objection Deadline and (b) seven (7) calendar



                                                  7
DOCS_DE:244759.3 03703/004
               Case 23-11131-TMH              Doc 317       Filed 09/18/23        Page 8 of 13




days after the Debtors file and serve the Additional Cure Notice (as applicable, the “Additional

Contract Objection Deadline”); (ii) state the basis of such objection with specificity, including,

without limitation, any Cure Amount alleged by such Contract Counterparty, and include contact

information for such Contract Counterparty; (iii) comply with the Bankruptcy Code, the

Bankruptcy Rules, and the Local Bankruptcy Rules; and (iv) be served upon the Notice Parties so

as to be actually received on or before the Additional Contract Objection Deadline.

        17.      The Cure Notice also provides that Contract Objections, if any, will be heard at (i) a

hearing with respect to a Restructuring Transaction scheduled by the Court by separate order (e.g.

a sale hearing or confirmation hearing) (a “Transaction Hearing”) or (ii) on such other date

subsequent to a Transaction Hearing as the Court may designate prior to, during, or after the

Transaction Hearing (a “Contract Hearing”). Any Additional Cure Notice shall provide that

Additional Contract Objections will be resolved at a hearing to be held by the Court (i) on or before

seven (7) calendar days from the timely filing of the Additional Contract Objection; (ii) at a

Transaction Hearing; or (iii) such other date designated by the Court.

        18.      The provision of information concerning adequate assurance of future performance

to Contract Counterparties with respect to a Restructuring Transaction (“Adequate Assurance

Information”) and Contract Counterparties’ rights to object solely with respect to such Adequate

Assurance Information will be addressed in the applicable procedural motion as to such

Restructuring Transaction.9 For the foregoing reasons, the Debtors believe that granting the relief

requested herein is appropriate and in the best interests of all parties-in-interest.




9
    For example, in the Brand Asset Bid Procedures Motion, the Debtors propose to include a list of Potential
    Assumed/Assigned Contracts that would be assigned or transferred to a successful bidder for all or a portion of
    the Debtors’ Operating Consumer Brands in a notice to be filed on or before December 1, 2023, with objections
    to Adequate Assurance Information required before December 5, 2023.


                                                        8
DOCS_DE:244759.3 03703/004
                Case 23-11131-TMH          Doc 317     Filed 09/18/23     Page 9 of 13




B.      Scheduling and Notice

        19.      Notice of Motion. On the date the notice of this Motion is filed or as soon as is

practicable thereafter, the Debtors will cause this Motion and all exhibits hereto, the Contract and

Lease Procedures, and a copy of the proposed Contract and Lease Procedures Order, to be served

upon (a) the Office of the U.S. Trustee for the District of Delaware, 844 King Street, Suite 2207,

Lock      Box      35,       Wilmington,   Delaware,    19801,    Attn:    John     Schanne,   Esq.

(John.Schanne@usdoj.gov); (b) counsel to the Committee, White & Case LLP, 1221 Avenue of

the     Americas,        New      York,    NY   10020-1095;      Attn:    Gregory     Pesce,   Esq.

(gregory.pesce@whitecase.com), Andrew O’Neill, Esq. (aoneill@whitecase.com), and John

Ramirez, Esq. (john.ramirez@whitecase.com); and local counsel to the Committee, Potter

Anderson & Corroon LLP, 1313 North Market Street, 6th Floor, Wilmington, DE 19801; Attn:

Christopher M. Samis, Esq. (csamis@potteranderson.com), Katelin A. Morales, Esq.

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to the DIP Lenders, DIP Agent and the Foris Prepetition Secured Lenders, Goodwin Procter LLP,

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Debora Hoehne, Esq. (dhoehne@goodwinlaw.com); (d) co-counsel to the DIP Lenders, the DIP

Agent and the Foris Prepetition Secured Lenders, Troutman Pepper Hamilton Sanders LLP,

Hercules Plaza, Suite 5100, 1313 N. Market Street, P.O. Box 1709, Wilmington, DE 19899; Attn:

David M. Fournier, Esq. (david.fournier@troutman.com); (e) the United States Attorney’s Office

for the District of Delaware; (f) the state attorneys general for all states in which the Debtors

conduct business; (g) the Securities Exchange Commission; (g) the Contract Counterparties; (j) the

Internal Revenue Service, the Securities and Exchange Commission, and any other federal, state



                                                  9
DOCS_DE:244759.3 03703/004
               Case 23-11131-TMH              Doc 317         Filed 09/18/23       Page 10 of 13




or local governmental agency to the extent required by the Bankruptcy Code, the Bankruptcy

Rules, the Local Rules, or order of the Court; and (h) any party that requests service pursuant to

Bankruptcy Rule 2002.

                                   BASIS FOR RELIEF REQUESTED

         20.      A debtor may, subject to court approval, assume and assign executory contracts and

unexpired leases under section 365(a) of the Bankruptcy Code. Courts routinely approve motions

to assume and assign executory contracts or unexpired leases upon a showing that a debtor’s

decision to take such action will benefit the debtor’s estate and is an exercise of sound business

judgment.10 Section 365(b)(1) of the Bankruptcy Code requires that, if there has been a default in

a debtor’s unexpired lease or executory contract, other than certain nonmonetary defaults as set

forth in the statute, such unexpired lease or executory contract may not be assumed unless, at the

time of the assumption, (i) such default is cured or there is adequate assurance that such default

will be cured, (ii) compensation or adequate assurance of compensation is provided for any actual

pecuniary loss resulting from such default, and (iii) adequate assurance of future performance

under the lease is provided.11 The meaning of “adequate assurance of future performance” depends

on the facts and circumstances of each case but should be given “practical, pragmatic

construction.”12

         21.      As set forth above, pursuant to the terms of the proposed Contract and Lease

Procedures Order, the Debtors will send the Cure Notice and Additional Cure Notice, as

applicable, to all Contract Counterparties to the Potential Assumed/Assigned Contracts notifying


10
     In re Fleming Co. Inc., 499 F.3d 300, 305 (3d Cir. 2007).
11
     11 U.S.C. § 365(b)(1).
12
     EBG Midtown South Corp. v. McLaren/Hart Env. Eng’ g Corp. (In re Sanshoe Worldwide), 139 B.R. 585, 593
     (S.D.N.Y. 1992); see also In re Fleming Co. Inc., 499 F.3d at 305; Cinicola v. Scharffeberger, 248 F.3d 110, 120
     (3d Cir. 2001).


                                                         10
DOCS_DE:244759.3 03703/004
               Case 23-11131-TMH         Doc 317       Filed 09/18/23   Page 11 of 13




such Contract Counterparties of the potential assumption by the Debtors, assumption by the

Debtors and assignment to a third party, or transfer and sale to a third party of such contract and/or

lease. The Cure Notice and Additional Cure Notice, as applicable, will also set forth the Cure

Amount, if any, owing for all such contracts and/or leases according to the Debtors’ books and

records.

         22.      Contract Counterparties to Potential Assumed/Assigned Contracts will be given

sufficient time (as set forth herein and in the proposed Contract and Lease Procedures Order) to

object to the proposed Cure Amounts, if any, set forth in the Cure Notice. If no objection is filed

with regard to a particular Cure Amount, such Cure Amount shall be binding on the Debtors, other

relevant parties to a Restructuring Transaction (for example, an asset purchaser), and the applicable

Contract Counterparty. The payment of the Cure Amounts specified in the Cure Notice or

Additional Cure Notice (or a different amount, either agreed to by the Debtors or resolved by this

Court as a result of a timely-filed objection by the relevant Contract Counterparty) will be in full

and final satisfaction of all obligations to cure defaults and compensate the Contract Counterparties

for any pecuniary losses under the applicable Potential Assumed/Assigned Contracts pursuant to

section 365(b)(1) of the Bankruptcy Code.

         23.      Section 365(f) of the Bankruptcy Code states that a debtor may assign its unexpired

leases and executory contracts if, inter alia, the assignee provides “adequate assurance of future

performance.”13 Pursuant to any motion setting forth procedures related to a Restructuring

Transaction (e.g. the Brand Asset Bid Procedures Motion), the Debtors will request clear

procedures for the provision of and objection to the ability of the relevant party to such

Restructuring Transaction (e.g. an asset purchaser or, in the case of a plan of reorganization, the


13
     11 U.S.C. § 365(f)(2)(B).


                                                  11
DOCS_DE:244759.3 03703/004
               Case 23-11131-TMH         Doc 317       Filed 09/18/23    Page 12 of 13




reorganized Debtors) to provide adequate assurance of future performance under the applicable

contracts or leases.

                                       NO PRIOR REQUEST

        24.      No prior request for the relief sought in this Motion has been made to this or any

other court.

                                               NOTICE

        25.      The Debtors will provide notice of this Motion to: (a) the Office of the U.S. Trustee

for the District of Delaware, 844 King Street, Suite 2207, Lock Box 35, Wilmington, Delaware,

19801, Attn: John Schanne, Esq. (John.Schanne@usdoj.gov); (b) counsel to the Committee, White

& Case LLP, 1221 Avenue of the Americas, New York, NY 10020-1095; Attn: Gregory Pesce,

Esq. (gregory.pesce@whitecase.com), Andrew O’Neill, Esq. (aoneill@whitecase.com), and John

Ramirez, Esq. (john.ramirez@whitecase.com); and local counsel to the Committee, Potter

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to the DIP Lenders, DIP Agent and the Foris Prepetition Secured Lenders, Goodwin Procter LLP,

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(mgoldstein@goodwinlaw.com), Alexander J. Nicas, Esq. (anicas@goodwinlaw.com), and

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Agent and the Foris Prepetition Secured Lenders, Troutman Pepper Hamilton Sanders LLP,

Hercules Plaza, Suite 5100, 1313 N. Market Street, P.O. Box 1709, Wilmington, DE 19899; Attn:

David M. Fournier, Esq. (david.fournier@troutman.com); (e) the United States Attorney’s Office

for the District of Delaware; (f) the state attorneys general for all states in which the Debtors



                                                  12
DOCS_DE:244759.3 03703/004
               Case 23-11131-TMH      Doc 317       Filed 09/18/23   Page 13 of 13




conduct business; (g) the Securities Exchange Commission; (g) the Contract Counterparties; (j) the

Internal Revenue Service, the Securities and Exchange Commission, and any other federal, state

or local governmental agency to the extent required by the Bankruptcy Code, the Bankruptcy

Rules, the Local Rules, or order of the Court; and (h) any party that requests service pursuant to

Bankruptcy Rule 2002.

        WHEREFORE, the Debtors respectfully request that the Court enter the Contract and

Lease Procedures Order, granting the relief requested herein, and such other and further relief as

this Court deems appropriate.

 Dated: September 18, 2023                       PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ James E. O’Neill
                                                 Richard M. Pachulski (admitted pro hac vice)
                                                 Debra I. Grassgreen (admitted pro hac vice)
                                                 James E. O’Neill (DE Bar No. 4042)
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                                                 Counsel to the Debtors and Debtors in Possession




                                               13
DOCS_DE:244759.3 03703/004
